
HARRELL, J.,
concurring.
I did not join the reasoning (the unconstitutionality of the Maryland statute) of the plurality of the judges in Doe v. Department of Public Safety &amp; Correctional Services, 430 Md. 535, 62 A.3d 123 (2013) (“Doe I”). Rather, I concurred based on a view that Doe was entitled to specific performance of the terms of his guilty plea. Doe, 430 Md. at 569, 62 A.3d at 143. I rejected the plurality’s constitutionality analysis. Id.
That having been noted, I concur in the judgment of the Court’s opinion in the present case, assuming that Doe I was decided correctly. It is, after all, the law of Maryland.
